                              Case 18-10018-KKS                       Doc 46          Filed 02/14/18              Page 1 of 1

Information to identify the case:
Debtor
                  Prioria Robotics, Inc.                                                  EIN 45−4044132
                  Name


United States Bankruptcy Court Northern District of Florida                               Date case filed in chapter 11                     1/29/18

Case number: 18−10018−KKS                                                                 Date case converted to chapter 7                 2/14/18

Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case                                                                                                                          12/15

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

                                    The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                        Prioria Robotics, Inc.
2. All other names used in the
   last 8 years
3. Address                                   P.O. Box 358920
                                             Gainesville, FL 32635−8920
4. Debtor's attorney                     Jodi Daniel Cooke                                               Contact phone 850−637−1836
    Name and address                     Stichter Riedel Blain & Postler, P.A.
                                         41 N. Jefferson Street                                          Email:
                                         Suite 111                                                       jcooke@srbp.com;jcookeecf@srbp.com;lhath
                                         Pensacola, FL 32501                                             away@srbp.com
5. Bankruptcy trustee                        Theresa M. Bender                                                    Contact phone 850−205−7777
    Name and address                         P.O. Box 14557
                                             Tallahassee, FL 32317                                                Email: tmbenderch7@yahoo.com
6. Bankruptcy clerk's office                 110 E. Park Ave., Ste. 100                                           Hours open 9:00am − 4:00pm
    Documents in this case may be            Tallahassee, FL 32301
    filed at this address. You may                                                                                Contact phone 1−866−639−4615
    inspect all records filed in this case
    at this office or online at
    www.pacer.gov.                                                                                                Date: 2/14/18

7. Meeting of creditors                      April 4, 2018 at 10:30 AM                                            Location:
    The debtor's representative must
    attend the meeting to be                 The meeting may be continued or adjourned to a           Jury Assembly Room, U.S.
    questioned under oath. Creditors         later date. If so, the date will be on the court docket. Courthouse, 401 S.E. First
    may attend, but are not required to                                                               Avenue, Gainesville, FL
    do so.

8. Proof of claim                            No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
    Please do not file a proof of            If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    claim unless you receive a notice        that you may file a proof of claim and stating the deadline.
    to do so.

9. Creditors with a foreign                  If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                                   extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.
Official Form 309C (For Corporations or Partnerships) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline
